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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

In re:
Prioria Robotics, Inc.,                          Case No. 18-10018-KKS
                                                 Chapter 7
       Debtor.
                                    /

                 ORDER GRANTING TRUSTEE’S MOTION FOR
            APPROVAL OF COMPROMISE AND SETTLEMENT (Doc. 499)
       This cause came before the Court on the Chapter 7 Trustee Theresa M. Bender’s

Motion for Approval of Compromise and Settlement (Doc. 499) (the “Motion”) with

Gilligan, Gooding, Batsel & Anderson, P.A. f/k/a Gilligan, Gooding, Franjola & Batsel,

P.A. and George Franjola filed pursuant to the negative notice procedure set forth in the

Northern District of Florida’s Local Bankruptcy Rule 2002-2. No party filed an objection

within the time permitted, so the Court considers the matter to be unopposed. Therefore, it

is

       ORDERED:

       1.      The Agreed Motion is GRANTED.

       2.      The terms of the Settlement Agreement and Release between the Trustee,

Gilligan, Gooding, Batsel & Anderson, P.A. f/k/a Gilligan, Gooding, Franjola & Batsel,

P.A., and George Franjola as described in the Motion and set forth in the Settlement

Agreement attached thereto, are approved.

       DONE AND ORDERED this            August 19, 2020                      .



                                                 Karen K. Specie
                                                 United States Bankruptcy Judge
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Service Instructions: Kevin A. Forsthoefel, Attorney for the Chapter 7 Trustee, Theresa M.
Bender, is directed to serve a copy of this Order on interested parties and file a proof of
service within three (3) days of the entry of this Order.

Copies to:
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 U.S. Trustee Charles F. Edwards (Charles.edwards@usdoj.gov)
 Robert Powell (rpowell@clarkpartington.com)
 John Hatfield, via U.S. Mail at P.O. Box 140944, Gainesville, Florida 32614
 Justin Dee, via U.S. Mail at 4127 NW 36th St., Gainesville, Florida 32605
 Ashley E. Scannella, via U.S. Mail at 3812 NW 25th Ter., Gainesville, Florida 32605
 Susan W. Scannella, via U.S. Mail at 9140 SW 48th Pl. Apt. B, Gainesville, Florida 32608
 Randy Schonhoff, via U.S. Mail at P.O. Box 92, Port Royal, South Carolina 29935
 John Kent, via U.S. Mail at P.O. Box 447, Jacksonville, Florida 32201
 Boris Yaw, via U.S. Mail at 6823 SW 53rd Ave., Gainesville, Florida 32608
 U.S. Trustee (USTPRegion21.TL.ECF@usdoj.gov)
 Prioria Robotics, Inc., via U.S. Mail at P.O. Box 358920, Gainesville, Florida 32635-
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Prepared by:

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